         Case 5:22-cr-00136-gwc Document 12 Filed 11/15/22 Page 1 of 1

                                                                                      u.5. ilis i ntui [0uRT
                                                                                     SiSIfr l{: i tri: VLii,HDt{
                                                                                                               I
                                                                                                 rILiD
                              LINITED STATES DISTRICT COURT
                                                                                    ffi?t H8V 15 FH B{ 5lr
                               FOR T}M DISTRICT OF VERMONT
                                                                                                 CLIRfl

                                                                                     EY                 qJ
UNITED STATES OF AMERICA                                                                  81tr Dt lT
                                                                                          L-rLI  Lr r   I




              v.
                                                        Crim.   No.: 5   ;   ??-cr't3A'(
TYLER P OLLENDER-SAVERY,
       Defendant


                                         INFORMATION
The United States Attorney charges:

                                              COUNT      1



       On or about January 11,2018, in the District of Verrnont, defendant TYLER

POLLENDER-SAVERY, knowing he was an unlawful user of and addicted to a controlled

substance as defined in   2l U.S.C. $ 802, knowingly    possessed the   following frearms which had

been shipped and transported in interstate and foreign commerce:

                   o   Anderson  AM 15 .223 Rifle - s1n0714020655
                   o   Savage Arms 72 gauge shotgun- sln 138992Q
                   o   Ruger rc-22 Rifle - s/n357-9t758
                   o   Ruger 10-22 Rifle - s/n352-60717
                   o   Century Arms .270 Rifle - s/n 86966
                   o   Sears 410 Rifle - s/n 583 2087
                   o   Remington 870 72 gaageshotgun- s/n AB49l 138A
                   o   Smith & Wesson .357 revolver - s/n 3168.

                                      (18   u.s.c.   $ e22(g)(3))



                                                        ,br/u/ou //'
                                                       ffisr                  ,      'Lc*t          ) for

                                                         United States Attorney
                                                         Burlington, Vef4qont
                                                         November.z-/5     ,zozz
